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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

EVA XIA and PAUL PRIVITERA,

                 Plaintiffs,                      No. 20 Civ. 3576 (ER)

     -against-

65 WEST 87TH STREET HOUSING
DEVELOPMENT FUND CORPORATION,
CHRISTINE ELBERT, SAMANTHA
PINKOWITZ, ANTHONY SARMIENTO, and
ANGELA ROJO,

                 Defendants.




 PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
                MOTION FOR SUMMARY JUDGMENT




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                                     INTRODUCTION

       This case is classically unsuitable for resolution on summary judgment.

       Plaintiffs Eva Xia and Paul Privitera are middle-income New Yorkers who applied to

purchase their dream home in Defendants’ HDFC co-op building (the “Building”) in 2019.

Though Plaintiffs were ideal buyers and candidates for the Building, soon after Defendants

learned Xia’s Asian surname, they mounted obstacle after obstacle to block Plaintiffs’

application and, ultimately, the sale. They imposed $14,000 in onerous and arbitrary fees

and deposits and required mountains of paperwork on tight deadlines. They applied

unachievable standards to evaluate Plaintiffs’ application that have never been applied to

other purchasers—before or since. And after Plaintiffs jumped through all of Defendants’

hoops, Defendants rejected them anyway and refused to say why.

       Discovery has crystallized the reason for Plaintiffs’ rejection: Defendants harbored

anti-Asian animus toward Xia, and they did not want a Chinese woman residing in their

Building. Documents and testimony prove that Defendant Rojo—who had been on a years-

long crusade to remove a Chinese subtenant from the Building—advocated to reject

Plaintiffs’ application before she even reviewed it, i.e., when all she knew was Xia’s name.

Text messages among the Defendants are replete with anti-Asian animus, and their emails

reveal that Plaintiffs were not the “kind of neighbor” they wanted. Along with the procedural

and substantive irregularities that dictated Plaintiffs’ application process, there is ample

evidence from which a reasonable jury could find that discrimination contributed to

Plaintiffs’ rejection.

       Relying heavily on self-serving, post-discovery declarations, Defendants move for

summary judgment by asserting that they rejected Plaintiffs for shifting and

self-contradictory reasons relating to the substance of Plaintiffs’ purchase application. But

these reasons make no sense, and the evidence shows they did not motivate Plaintiffs’

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rejection. Several of the purported deficiencies Defendants now claim to have found in

Plaintiffs’ application would have applied equally to Defendants’ own applications when

they purchased units in the Building, but were never cited as cause for concern. Defendants

likewise take issue with aspects of Plaintiffs’ application that were not raised during the

application review process, and that first surfaced during litigation. Defendants’ purported

rationale for rejecting Plaintiffs was not legitimate and non-discriminatory; it was

pretextual.

       Defendants are not entitled to summary judgment based on their version of what

happened. Genuine disputes exist as to nearly every single material fact, including, chiefly,

whether Defendants were motivated by racial animus in their decision to reject Plaintiffs.

These factual disputes must be decided by a jury.

                                            FACTS

       Plaintiffs respectfully refer the Court to the accompanying Local Rule 56.1 Statement

for a full recitation of the factual background relevant to this motion.

                                         ARGUMENT

I.     LEGAL STANDARDS

       Summary judgment is proper only if Defendants show there is no genuine issue of

material fact and they are entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a);

Binder & Binder PC v. Barnhart, 481 F.3d 141, 148 (2d Cir. 2007). In considering

Defendants’ motion, the Court may not make credibility determinations or weigh the

evidence, but instead must “draw all factual inferences in favor of, and take all factual

assertions in the light most favorable to,” Plaintiffs. Rule v. Brine, Inc., 85 F.3d 1002, 1011

(2d Cir. 1996). “If there is any evidence in the record from any source from which a

reasonable inference in [Plaintiffs’] favor may be drawn, [Defendants] simply cannot obtain




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a summary judgment.” Binder & Binder PC, 481 F.3d at 148 (internal quotation marks and

citation omitted).

       Because this is a discrimination case, special considerations apply. Specifically, “this

Court must tread lightly in deciding whether summary judgment should be granted in a

discrimination case that turns on intent.” 273 Lee Avenue Tenants Ass’n by Sanchez v.

Steinmetz, 330 F.Supp.3d 778, 796 (E.D.N.Y. 2018). It should bear in mind that “[i]t is the

rare occasion when discrimination boldly smacks one in the face, rather, it is ‘often

accomplished by discreet manipulations and hidden under a veil of self-declared

innocence.’” Id. (citing Fair Hous. Justice Ctr., Inc. v. Edgewater Park Owners Co-op., No.

10 Civ. 912, 2012 WL 762323, at *8 (S.D.N.Y. 2012); Rosen v. Thornburgh, 928 F.2d 528,

533 (2d Cir. 1991)). Summary judgment is only appropriate if “no reasonable jury could find

that the defendant’s actions were motivated by discrimination.” Mitchell v. Shane, 350 F.3d

39, 45 (2d Cir. 2003).

       Finally, since “a jury is free to believe part and disbelieve part of any witness’s

testimony,” the Court “must disregard all evidence favorable to the moving party that the

jury is not required to believe.” In re Dana Corp., 574 F.3d 129, 152 (2d Cir. 2009) (internal

quotation marks omitted, emphasis in original). Here, that includes the self-serving

declarations submitted by each individual Defendant and defense counsel. Because “[a]n

affidavit or declaration used to support or oppose a motion [for summary judgment] must

be made on personal knowledge,” Fed. R. Civ. P. 56(c)(4), a declaration signed by an

attorney who did not witness the underlying events cannot satisfy the strictures of Rule 56.

Beyah v. Coughlin, 789 F.2d 986, 989-90 (2d Cir. 1986). Likewise, Defendants cannot carry

their burden with post-discovery declarations, not subject to adversarial testing, that seek to

change or correct their deposition testimony. See Hayes v. N.Y.C. Dep’t of Corr., 84 F.3d

614, 619 (2d Cir. 1996).

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        Because genuine disputes of material fact exist as to Plaintiffs’ discrimination claims,

Defendants’ motion must be denied.

II.     DEFENDANTS ARE NOT ENTITLED TO SUMMARY JUDGMENT

        Plaintiffs’ discrimination claims are assessed under the McDonnell Douglas burden-

shifting framework.1 See Robinson v. 12 Lofts Realty, Inc., 610 F.2d 1032, 1038 (2d Cir.

1979). Once Plaintiffs establish a prima facie case of discrimination, the burden shifts to

Defendants to assert a legitimate, nondiscriminatory rationale for the challenged decision.

See McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-03 (1973). If they can make that

showing, the burden shifts back to Plaintiffs to demonstrate that discrimination was the real

reason for Defendants’ actions. See Mitchell, 350 F.3d 39.

        Here, Defendants do not contest that Plaintiffs have established a prima facie case of

discrimination; they proceed straight to step two of McDonnell Douglas. It is thus

undisputed for purposes of this motion that (1) Plaintiffs are members of a protected class,

as Ms. Xia is Chinese-American; (2) they sought and were qualified to purchase the

apartment; (3) they were rejected; and (4) the apartment remained available thereafter. See

Mitchell, 350 F.3d at 48.

        Because it is Plaintiffs’ burden on step three to show that Defendants’ proffered

reasons are pretextual and they intentionally discriminated against Plaintiffs based on race,




         1 Plaintiffs bring federal discrimination claims under the Fair Housing Act and 42 U.S.C. § 1981,

which are both assessed under McDonnell Douglas. Mitchell v. Century 21 Rustic Realty, 233 F. Supp. 2d
418, 437 (E.D.N.Y. 2002). Plaintiffs bring analogous state and local claims under the New York State
Human Rights Law (NYSHRL) and New York City Human Rights Law (NYCHRL), which are evaluated
under the same framework. See Mitchell, 350 F.3d at 47 n. 4 (applying same standard under FHA and
NYSHRL); see also Birch Fam. Servs., Inc. v. Wlody, No. 21-1553, 2022 WL 1468160, at *2 (2d Cir. May
10, 2022) (applying same standard under FHA and NYCHRL). If Plaintiffs’ federal claims survive this
motion, their state and local claims necessarily survive too, as “similarly worded provisions of federal and
state civil rights laws [are] a floor below which the City’s Human Rights law cannot fall, rather than a
ceiling above which the local law cannot rise.” N.Y.C. Admin. Code § 8-130(a); Pease v. City of New York,
No. 19 Civ. 7693, 2021 WL 2651400, at *6 (S.D.N.Y. June 28, 2021) (noting effect of NYSHRL 2019
amendments was to “render the standard for claims closer to the standard under the NYCHRL”).

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we begin our analysis there. We then address Defendants’ argument that they have provided

a legitimate non-discriminatory basis for their actions at step two.

       A.     Defendants’ Stated Reasons for Plaintiffs’ Rejection are Pretextual

       To demonstrate that a defendant’s stated non-discriminatory reasons for an allegedly

discriminatory action are pretextual, “[a] plaintiff is not required to show that the

[defendants’] proffered reasons were false or played no role in the employment decision, but

only that they were not the only reasons and that the prohibited factor was at least one of

the motivating factors.” Cronin v. Aetna Life Ins. Co., 46 F.3d 196, 203 (2d Cir. 1995); see

Patterson v. Cnty. of Oneida, 375 F.3d 206, 221 (2d Cir. 2004). Any factual dispute as to

whether discrimination played a motivating role is thus sufficient to defeat Defendants’

motion, irrespective of whether Plaintiffs succeed in disproving their proffered

nondiscriminatory rationales. Renz v. Grey Advert., Inc., 135 F.3d 217, 222 n.3 (2d Cir.

1997) (holding that a “plaintiff is entitled to succeed by proving discriminatory motivation

without proving that a proffered explanation is false”).

       “Intent to discriminate may be established in a number of ways.” United States v.

Yonkers Bd. of Educ., 837 F.2d 1181, 1221 (2d Cir. 1987). “Because discriminatory intent is

rarely susceptible to direct proof, a district court facing a question of discriminatory intent

must make ‘a sensitive inquiry into such circumstantial and direct evidence of intent as may

be available.’” MHANY Mgmt., Inc. v. Cnty. of Nassau, 819 F.3d 581, 606 (2d Cir. 2016)

(quoting Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266 (1977));

see also Rosen, 928 F.2d at 533 (observing that, because a discrimination perpetrator “is

unlikely to leave a ‘smoking gun,’” the plaintiff in an intentional discrimination case is

“seldom able to prove his or her claim by direct evidence and is usually constrained to rely

on the cumulative weight of circumstantial evidence”).



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        Indicia of invidious motive include the existence of procedural irregularities in the

decision process, departures from usual substantive criteria, and contemporaneous

statements and conduct by decision-makers evidencing animus. MHANY Mgmt., 819 F.3d

at 606. Here, evidence in each of these categories provides an ample basis from which a jury

could conclude that discrimination motivated the rejection decision at least in part.

Summary judgment must therefore be denied.

                1.      Plaintiffs’ Application Process was Rife with Procedural
                        Irregularities

        The discovery record is replete with evidence that Defendants manipulated the

application process to block Plaintiffs from purchasing in the Building.

                        a.       Defendants Overhauled the Purchase Application to
                                 Require New, Onerous Fees and Documentation

        After Defendants learned Xia’s name, and thus her race and national origin, they

began a months-long process to burden Plaintiffs and deter them from purchasing a unit in

the Building. By June 2019, Defendants were aware that Unit 4 was for sale. Ex. R at 63:4-7.

Yet during a Board meeting on June 24, 2019, there was no mention of revising or updating

the co-op’s existing purchase application materials, which Sarmiento had used successfully

when purchasing his home in 2016.

        Defendants learned Xia’s name on July 10, 2019. Ex. W at XIA002318. They then

began circumventing Board bylaws and notice requirements—including by excluding two

other Board members—to form a “Special Committee” for the sale of Unit 4.2 On July 29,




         2 Although Defendants have asserted that excluding these two Board members was justified

because they were interested parties in the sale, this is a matter of factual dispute. The evidence shows
that neither had an actual conflict. One, Samantha Pinkowitz, was not involved in the sale, Ex. E at 38:20-
40:25; Ex. P at 14:24-15:6. The other, Orlando Rymer—who was typically represented on the Board by
proxy by Eliana Pena—was the seller of Unit 4. But sellers routinely participated in decisions to approve
or reject prospective buyers at the Building prior to Plaintiffs’ application. Ex. L at 120:14-24.

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2019, Elbert initiated discussions with Sarmiento and Rojo concerning the formation of a

special sales committee to “conduct all communications and decisions regarding the sale” of

Unit 4, acknowledging “I am basically doing this now, unofficially, through this email.” Ex.

30 at DEFS001403. All three quickly determined that they were available to attend a special

Board meeting at noon on August 4, Ex. 30, but waited to inform other Board members

until less than 24 hours before the meeting was scheduled to begin—in violation of the

Building’s bylaws, Ex. 11, Ex. 61 at DEFS006433. Unsurprisingly, only Elbert, Sarmiento,

and Rojo attended the hastily called meeting, at which they appointed themselves as a

“special committee” overseeing the sale. Ex. 12. The official meeting minutes claim that Rojo

proposed the creation of the committee, id., but Defendants’ internal emails show that

Elbert had raised the idea days earlier, Ex 30 at DEFS001399.

       Although Defendants had known for a month that Plaintiffs imminently intended to

submit a purchase application, the “special committee” decided upon its formation to invent

a completely new and unprecedentedly burdensome purchase process specifically for

Plaintiffs. The committee took nearly two additional months to overhaul the process,

providing the seller’s broker, Sandra Balan, with the revised application on September 27,

2019. Ex. PP. The new application demanded $12,000 more in fees and deposits than any

prior applicant had been charged, including a $500 application fee (increased from $350), a

$1,000 financing fee (increased from $300), a brand new $250 due diligence fee, a brand

new $10,000 primary residence guarantee deposit, and a brand new $2,000 housing

assistance administration fee. Exs. QQ, RR. Sarmiento testified that he was “concerned” that

the $10,000 guarantee “was large and burdensome,” Ex. R at 154:20-21, while Rojo agreed

that this fee was “unusually high,” Ex. L at 156:13-157:4. Balan testified that she was in “total

shock” when she saw the fees imposed, as they were “astronomically high,” and she had

never seen comparable at any co-op, let alone an HDFC. Ex. E at 56:15-57:9. She recalled

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that the primary residency guarantee fee left her “stunned for about five minutes,” adding:

“I have never in my life seen a fee like this, ever, ever, ever on any building I’ve worked in

whether it be a co-op, condo or HDFC. I even showed it [to] my manager and he was

shocked,” id. 59:13-20. When Balan showed the fee schedule to Andrea Shapiro, the Board’s

own attorney, she too expressed shock and dismay. Id. at 79:24-80:19.

       Defendants’ purported justifications for these fee increases are transparently

pretextual. Their insistence that the burden on Plaintiffs was mitigated by the refundable

nature of certain fees ignores that HDFCs exist to create a path to home ownership for low-

and middle-income New Yorkers who are unlikely to be able to spare $11,000 in

“refundable” fees for the indefinite period of the sale’s pendency. As Sarmiento observed in

an email among the Defendants on November 16, 2019, these fees “could represent a

liquidity hit for most anyone, even if financially stable,” particularly given the uncertainty

inherent in scheduling a closing. Ex. 38 at DEFS666. Moreover, in her deposition, Elbert

conceded that, while the $10,000 “primary residency guarantee” Defendants imposed for

Plaintiffs’ application was nominally refundable, the Board retained total discretion to

decide if their proof of primary residence was satisfactory to obtain the refund. Ex. G at

170:9-13. Notably, when Elbert herself applied to purchase her unit, she expressed outrage

at being charged just $700 in fees, calling that amount “excessive” for an HDFC. Ex. 43 at

DEFS3128.

       More fundamentally, Defendants’ failure to plausibly and consistently explain why

the new fees were imposed strengthens the inference of improper purpose. For instance, in

their post-discovery affidavits, Sarmiento and Elbert claim—in identical language—that the

$10,000 primary residence guarantee was needed to “incentivize purchasers to live up to

their commitment to reside at” the building. Elbert Aff. ¶ 14; Sarmiento Aff. ¶ 13. But after

rejecting Plaintiffs’ application, Defendants revised the application again and eliminated the

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$10,000 deposit along with most of the other increased fees—belying their insistence that

the increases were tied to the co-op’s legitimate business needs. Ex. 27 at DEFS4826. Rojo

testified that the fees in place in 2016 were sufficient, Ex. L at 73:18-25, and that she did not

remember why the application fee was raised to $500 just as Plaintiffs were applying, id. at

155:21-156:2. Yet she now claims the increased fees were needed “to assure that the Coop

was reimbursed for Board time spent on the transaction.” Rojo Aff. ¶ 11. The credibility and

sufficiency of Defendants’ justifications for imposing these fees—i.e., whether they reflect an

intentional effort to block Plaintiffs from purchasing the apartment or were based on

genuine fiscal concerns—are quintessential jury questions.

        In addition to the astronomical fees, Defendants required Plaintiffs to include

additional unnecessary documentation never sought from previous applicants. These

burdensome requirements included furnishing copies of photo identification not only for

Plaintiffs, but also for the seller and all parties’ brokers and attorneys. Ex. QQ at DEFS4729.

The application also included a byzantine “conflict of interest” matrix, requiring Plaintiffs to

“indicate in detail the nature of the professional and/or personal relationship or affiliation”

among every entity and person involved in the sale in any way (including, for example,

between the Board’s attorney and the credit verification company—information Plaintiffs

obviously would not possess). Id. at DEFS4772-74. Plaintiffs made a good-faith effort to

comply with these requirements in their November 2019 application, completing the matrix

to the best of their ability and disclosing the full contract of sale. Ex. 17 at DEFS909-928.3

        Despite Plaintiffs’ efforts, Defendants determined that the conflict disclosures in the

November 2019 application were insufficient and demanded additional assurances. In




        3 The parties’ attorneys and the seller’s brokerage firm declined to provide copies of their

contracts with their clients, citing confidentiality and privilege concerns. Ex. 17 at DEFS930, 932.

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January 2020, Board attorney Andrea Shapiro called Balan, explaining that “the board had

contacted her, they were requiring additional information and I would need to come down

to her office to go over” these supplemental application requirements. Ex. E at 70:3-6. At

the meeting, Shapiro told Balan that “the board wanted these legal papers, these affidavits

put together” concerning the relationships among all parties involved in the sale

transaction. Id. at 71:7-8. She repeatedly noted that these requests had come from “Chris,”

meaning Christine Elbert. Ex. E at 75:17-76:5.4 Shapiro proceeded to review hard copies of

“e-mails from the board” describing the affidavits being sought while Balan looked on. Id. at

71:25-72:6. As she reviewed the Board’s demands, Shapiro hand-wrote notes describing the

required contents for each of the affidavits on a manila folder, which she instructed Ms.

Balan to type up at her own office and email back to Shapiro. Ex. E at 76:6-77:11; Ex. 59

(copy of manila folder).5 Later, after rejecting Plaintiffs’ application, Defendants promptly

eliminated the entire conflict of interest disclosure section of the purchase application. Ex.

27.

        On top of these onerous disclosure requirements, Defendants also decided that

because Plaintiffs’ supplemental application materials would be submitted in 2020,

Plaintiffs would need to verify their income for calendar year 2019. Ex. G at 189:12-21.

Although Plaintiffs’ 2019 tax return was not due for months, Defendants demanded that

Plaintiffs submit their revised application on or before February 17, 2020—a federal

holiday—and include copies of all Forms 1099 and W-2 for calendar year 2019, which are



        4 Shapiro’s statements are non-hearsay under Federal Rule of Evidence 801(d)(2)(D).

         5 Although Defendants now claim that they never actually asked for these burdensome affidavits,

Rojo testified in her deposition that she recalled the Board asking for affidavits from sale parties
disclosing “if they knew they had any kind of relationship or knew anyone in the building.” Ex. L at 171:9-
12. She confirmed that this requirement—which has never been imposed on any applicant before or since
Plaintiffs—was devised “between the lawyer, Christine and Anthony.” Id. at 172:20-21. Defendants’
belated denials at best create a question of fact that must be resolved by the finder of fact.

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not required to be finalized until January 31. Id. at 190:9-19; Ex. E at 91:24-92:10. When

Plaintiffs requested an extension of a few days to ensure that their attorney would have

sufficient time to review the required affidavits, the Board rejected the request without

explanation. Ex. G at 191:21-192:8; Ex. E at 92:11-93:17. As Ms. Balan testified, the Board’s

insistence on a particular submission deadline, and refusal to entertain the extension

request, was “[e]xtremely unusual” because “the building has nothing to do with this deal,

they’re not selling this apartment . . . so if the seller did not care when the package was

submitted and the buyer was working on it as quickly as possible,” there was “no rhyme or

reason” to the Board’s imposition of its own deadline. Ex. E at 93:18-94:8.6 A jury could

infer improper motive from this irregularity alone.

                        b.      The Board Deviated from Internal Procedures and
                                Best Practices in Reviewing Plaintiffs’ Application

        The Board’s insistence on conducting its own, searching review of Plaintiffs’ financial

qualifications was yet another procedural aberration in the application process. Defendants

were contemporaneously aware that best practice for self-managed co-ops is to minimize

the Board’s contact with prospective buyers and allow a building attorney to review

purchase applications for income eligibility and financial qualification. Ex. 38 at DEFS665.

They therefore agreed before Plaintiffs submitted the November 2019 application that

Shapiro would “do a first look to check for compliance with income caps and tax disclosure,

as well as minimal financial resources . . . and checking for completeness.” Id. at DEFS664.

        At 1:58 a.m. on November 20, 2019, Elbert notified Rojo and Sarmiento that an

electronic copy of Plaintiffs’ application had been received by email, but that she had “not




        6 Defendants’ stated explanation for imposing a rigid deadline—that the sale process was taking

too long—is self-evidently pretextual. Obviously, refusing to grant a modest extension and thereby forcing
Plaintiffs to submit an incomplete application package would increase the risk of a rejection, ultimately
requiring the sale process to restart completely and extending the timeline by far more than a few days.

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opened it” and had asked Shapiro to conduct an initial review. Id. Yet barely 12 hours later,

Elbert sent another email noting that she “took a peak” [sic] and was already “ready to reject

the application.” Ex. 18 at DEFS1968. Rojo responded that evening, calling Plaintiffs

“dishonest” and stating: “My vote is to reject the application.” Id. She had not reviewed

Plaintiffs’ application at the time. Ex. L at 164:12-15.

       After Shapiro reviewed Plaintiffs’ application package, she told Ms. Balan that “she

thought the board package was perfect,” that there were “no issues” with Plaintiffs’

eligibility under the applicable HDFC income caps, and that Plaintiffs were “absolutely”

financially qualified to purchase Unit 4. Ex. E at 89:10-11. 90:7-8, 91:15-20. Other than the

additional disclosure affidavits the Board had requested and Plaintiffs’ Forms 1099 and W-2

for 2019, Shapiro considered Plaintiffs’ application to be complete as of January 2020. Id. at

90:7-13. Yet when Defendants received Plaintiffs’ supplemental February 2020 application,

they rejected it without having Ms. Shapiro review it, without requesting any additional

information from Plaintiffs, and without contacting any of their references. Ex. G at 193:7-

194:7, 201:13-19. Rojo wrote in a contemporaneous email that she considered Plaintiffs’

resubmitted application to be “[bullshit] and garbage” and seethed that Plaintiffs are

“[d]riven by money.” Ex. 19 at DEFS7039. She admitted she had not read the application

when she wrote these statements. Ex. L at 177:12-25.

       The numerous procedural irregularities that plagued Plaintiffs’ application process

from the moment they learned of Xia’s race support an inference of discrimination. See L.C.

v. LeFrak Org., Inc., 987 F. Supp. 2d 391, 401 (S.D.N.Y. 2013) (holding that the imposition

of “a more burdensome and delayed process” on plaintiffs plausibly raised an inference of

discrimination); Broome v. Biondi, 17 F.Supp.2d 211, 217 (S.D.N.Y. 1997) (testimony that

applicants “submitted references from former landlords and employers as part of their

sublet application and that none of the Board members checked any of these references to

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ask about the [plaintiffs] and their potential to be good tenants” supported jury finding of

pretext); accord, e.g., Gilead Comm’ty Servs., Inc. v. Town of Cromwell, 432 F. Supp. 3d

46, 72 (D. Conn. 2019); Corey v. Sec’y, U.S. Dep't of Hous. & Urban Dev. ex rel. Walker, 719

F.3d 322, 327 (4th Cir. 2013). Defendants’ motion must therefore be denied.

              2.      Defendants Departed from Ordinary Substantive Criteria in
                      Deciding to Reject Plaintiffs’ Application

       The record would also permit a jury to infer discriminatory intent from Defendants’

“departures from usual substantive criteria” used in assessing purchase applications at the

Building. See Quad Enters. Co., LLC v. Town of Southold, 369 F. App’x 202, 207 (2d Cir.

2010) (internal quotation marks omitted).

       First, Defendants used a sui generis interpretation of the applicable HDFC income

caps, requiring that Plaintiffs’ income in years prior to their application fall below the

applicable income cap based on their family size at the time. Ex. G at 30:14-25. This

nonsensical rule was invented specifically to disqualify Plaintiffs and was never used to

determine income eligibility in the past. For example, when Sarmiento and his wife applied

to purchase their apartment in 2016, their 2015 federal tax return reflected an adjusted

gross income of $134,548. Ex. 28 at DEFS8559. The income cap applicable to the building

in 2015 was $142,395 for a household of four or $128,205 for a household of three. Ex. 7.

Sarmiento’s household size in 2015 was three, as his second child was born in 2016. See Ex.

28 at DEFS8559 (noting one dependent, a son, in 2015); id. at DEFS8540 (describing

daughter as “newborn” in June 2016). Accordingly, had the Board applied the same absurd

rule to Sarmiento’s family that Defendants applied to Plaintiffs, Sarmiento would have been

disqualified. Confronted with this discrepancy at her deposition, Elbert testified that

perhaps the Board approved Sarmiento’s application erroneously and stated that she would




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need to “consult legal counsel” to determine whether the Board should take any remedial

action. Ex. G at 108:18-109:22.

       Regrettably, her post-discovery declaration does not mention the outcome of any

such consultation. Presumably none ever occurred, because there is no conceivable reason

why the Board of any HDFC would care whether an applicant satisfied an outdated income

cap at a time years in the past, before one of their children was born. Balan, a Manhattan

real estate broker with decades of experience, testified that she had never heard of any

HDFC assessing income eligibility based on an applicant’s household size in a year prior to

the time of their application. Ex. E at 20:22-21:2.

       Astoundingly, Defendants also used speculative projections about Plaintiffs’ future

income to disqualify them, again subjecting them to rules that were never applied to other

applicants. Apparently based on Plaintiffs’ stated intention to sell the apartment where they

were living at the time they applied, Defendants decided that Plaintiffs would earn

“approximately $55,000 in profit from the sale, making their 2020 expected income

approximately $189,000,” thereby disqualifying them. Br. at 10. It is unclear why

Defendants believed they could predict the future purchase price of an apartment they had

never seen with sufficient precision to determine that the sale would place Plaintiffs over the

2020 income cap by about $1,000. See Ex. N at 9 (listing 165% AMI for a family of four as

$187,605 for 2020). Regardless, it is beyond serious dispute that the Board never

considered future projected income to determine any other applicant’s eligibility. As Elbert

admitted, “once someone purchases in an HDFC it doesn’t matter what family size you have

or what income you have, you just need to meet it [the income cap] at the time of purchase.”

Ex. G at 56:6-9. Indeed, Elbert had specifically asked her own broker when she purchased

her apartment at the Building in 2014: “How do the income limits work—only at purchase,

or anytime during residency?” and was told: “[J]ust purchase.” Ex. 44 at DEFS3119-20.

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       In addition, Defendants manipulated the definition of “income” to justify rejecting

Plaintiffs’ application. Defendants’ own purchase application form expressly states that, for

purposes of determining HDFC eligibility, “[i]ncome is defined as your adjusted gross

income as reflected on your federal tax return.” Ex. RR at DEFS9427. Sarmiento—

Defendants’ 30(b)(6) witness on “the financial qualifications or prerequisites to purchase a

unit in the 65 West 87th Street HDFC at all times from 2014 to present”—confirmed in his

deposition that the Board’s policy was to use adjusted gross income (“AGI”) to assess

eligibility. Ex. R at 53:19-54:5. It is beyond dispute that Plaintiffs’ AGI, as reported on the

2017 and 2018 tax returns that were submitted with their application, fell below the

applicable 2019 income cap for a family of four. Compare Ex. 17 at DEFS813 (Plaintiffs’

2018 AGI reported as $136,242) and Ex. 17 at DEFS841 (Plaintiffs’ 2017 AGI reported as

$174,955), with Ex. N at 7 (listing 165% of AMI for a family of four in 2019 as $176,055). But

in Plaintiffs’ case, the Board determined that a different number—Plaintiffs’ 2018 “total

income”–was too high. Ex. G at 26:12-23. Pressed on the definition of “total income,” Elbert

was unable to answer. Id. at 81:11-83:17; see also Ex. 47 at DEFS4372.

       Defendants’ assertion that Plaintiffs exceeded the 2018 income cap because they

were “not entitled” to exclude gains from the sale of their former primary residence in

Harlem from taxable income, Br. at 10-11, strengthens—not weakens—the inference of

discrimination. First, the purchase application given to Plaintiffs identifies the relevant

income number as “adjusted gross income as reflected on your federal tax return”—not

what inexpert Board members believe should have been reflected on the return. Ex. RR at

DEFS9427 (emphasis added). There is no evidence that any other applicant’s tax return data

has ever been scrutinized and recalculated by the Board under its own understanding of IRS

rules to generate a new income figure for use in making eligibility decisions. More to the

point, if Defendants were genuinely concerned about whether gains for Plaintiffs’ home sale

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were properly excluded from their 2018 AGI, the logical response would have been to ask

Plaintiffs about it. Had they done so, Plaintiffs would have explained that the December

2014 date listed in their purchase application was likely the date they purchased their

current home. Plaintiffs in fact resided at the Harlem Apartment until the summer of 2015.

See Ex. I at 15:2-21:8; Ex. 62. That simple clarification would have resolved Defendants’

concerns, demonstrating that Plaintiffs in fact maintained the Harlem Apartment as their

primary residence for more than two years, as required to take the homestead exclusion. See

26 U.S.C. § 121(a).

       That Defendants never bothered to ask, and instead assumed that Plaintiffs were tax

cheats to justify rejecting their application, is itself evidence of invidious motive. See

Sassower v. Field, 752 F. Supp. 1182, 1189 (S.D.N.Y. 1990) (co-op board’s failure to consider

information that would have obviated their stated basis for rejecting plaintiffs was evidence

of pretext). At the very least, the genuineness of Defendants’ concerns about Plaintiffs’

eligibility for the homestead exclusion in 2018 is a disputed question of fact that must be

resolved at trial. Drawing all inferences in Plaintiffs’ favor, a fact-finder could easily

conclude that Defendants’ aberrant approach to the substantive assessment of Plaintiffs’

application supports an inference of discriminatory intent.

               3.      Discovery Revealed Direct Evidence of Anti-Asian Animus

       Discovery also revealed “contemporaneous statements by decision-makers

evidencing animus.” MHANY Mgmt., 819 F.3d at 606. Most notably, Rojo’s own testimony

and that of other witnesses shows that Rojo harbors anti-Asian racial animus.

       Prior to Plaintiffs’ application, Rojo had supplemented her income–a fact she

concealed from the IRS, Ex. L at 102:4-9–by renting out rooms in her unit to subtenants.

One of these subtenants was an Asian woman named Cindy Zhou. Id. at 93:16-94:6. When

Rojo and Zhou had a falling out, Zhou moved out of Rojo’s apartment and into Unit 4,

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where she sublet a room from Orlando Rymer. Id. at 95:21-96:12. At the same time

Defendants were considering Plaintiffs’ application, Rojo repeatedly ranted against Zhou to

other Board members, saying she did not “approve of her residence in our FAMILY oriented

BrownStone” (Ex. 23), calling her a “squatter” (Ex. 24), and announcing that she did “not

approve of her been [sic] in our building” (Ex. 25 at DEFS7366). Incredibly, Rojo claimed in

her deposition that she “adore[s] Cindy” and that these messages were not intended to

communicate anything negative about her. Ex. L at 193:2-195:12. Separately, Elbert referred

to Zhou in text messages as “miss Asian,” Ex. 26 at DEFS11471—a term that she admitted

was “weird.” Ex. G at 216:2-5.

       On March 9, 2020–just as the COVID-19 virus was beginning to spread in New York

City after several months of remaining largely contained to mainland China–Rojo texted her

neighbors about Zhou, ranting that she “for sure doesn’t cleaning, disinfecting health

hygiene [sic]” and might spread COVID-19 because she “does her shopping from

Chinatown.” Ex. 25 at DEFS7382. Despite being shown the text messages, which specifically

referred to “the tenant living on the 4th floor,” Rojo suddenly claimed that she might have

meant a different fourth-floor tenant, other than Zhou, whose identity she could not recall.

Ex. L at 204:21-206:8. No such person exists.

       Rojo’s testimony leaves little doubt that she considers Asian people to be unhygienic

vectors of disease who make poor neighbors and are unfit to live in a family-oriented

community. Crucially, her viciousness toward Zhou mirrors repeated statements she made

about Plaintiffs throughout the period when they were seeking to purchase the apartment

beneath hers. As early as August 2019, Rojo emailed Sarmiento and Elbert about Plaintiffs,

writing, “I don’t know if we want this kind of neighbor.” Ex. 13. Then, the day after Plaintiffs

submitted their November 2019 application, without bothering to review it, Rojo emailed

Elbert and Sarmiento, stating: “I don’t do well with dishonest/people and specially when

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they play games . . . . My vote is to reject the application.” Ex. 18 at DEFS1968. Likewise,

immediately after Plaintiffs submitted their supplemental application in February 2020,

Rojo characterized their submission as “garbage” and expressed her view that Plaintiffs

were untrustworthy, dishonest, and greedy. Ex. 19 at DEFS7039. As the Second Circuit has

repeatedly held, the use of language like that Rojo used to describe Plaintiffs and Zhou is

evidence of discriminatory intent. See Abrams v. Dep’t of Public Safety, 764 F.3d 244, 253

(2d Cir. 2014) (noting that “the phrasing ‘better fit’ or ‘fitting in’ just might have been about

race; and . . . those phrases, even when isolated, could be enough to create a reasonable

question of fact for a jury”); MHANY Mgmt., 819 F.3d at 608-09 (stated concerns about

community’s “flavor” and “character” were “code words for racial animus”).

       Indeed, Rojo repeatedly lobbied the other members of the Board to reject Plaintiffs

after she learned Xia’s race but before she learned any substantive information pertaining

to Plaintiffs’ application. See, e.g., Ex. 14 at DEFS612 (September 8, 2019 email: “Sorry to

say I’m not feeling it”); Ex. 16 at DEFS1731 (September 11, 2019 email: “I’m extremely very

uncomfortable and not satisfied with any of them, I’m thinking we should reject the

applicant”). Given that Rojo knew nothing except Xia’s name (and, therefore, her race) at

the time of these statements, and had elsewhere made plain her distrust of and distaste for

her only Asian neighbor in starkly racialized terms, a jury could infer that her unexplained

hostility toward Plaintiffs’ application was motivated by racial animus.

       That inference is further supported by other record evidence suggesting a pattern on

Defendants’ part of discriminating against Asian Americans. Other than Plaintiffs, the

Board has only voted to reject one other application for purchase—those buyers, like

Plaintiffs, were an interracial couple consisting of a European husband and Asian wife. See

Ex. L at 62:2-7; 68:7-20. Additionally, Balan testified that when she was showing Unit 4 to

another potential buyer after Plaintiffs’ application was rejected, Rojo appeared and began

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spraying Lysol on Balan, the potential purchaser, and his broker. See Ex. E at 102:18-103:3-

5. (“[A]ll of a sudden she started spraying Lysol all over the place. We had to go through this

huge cloud of Lysol that was getting into our eyes, it was horrible. Why would you start

spraying while people are walking by? . . . It almost felt like an assault.”). The prospective

buyer Rojo attempted to disinfect with Lysol was Asian. Id. at 103:13-16.

       Together, the ample record evidence of substantive and procedural irregularities,

along with direct evidence of discriminatory animus, more than suffices to raise an

inference of discrimination. Because that is all that is required for Plaintiffs’ claims to reach

a jury, Defendants’ motion should be denied. Cronin, 46 F.3d at 203.

       B.      Defendants Have Not Shown a Legitimate, Non-discriminatory
               Reason for Plaintiffs’ Rejection

       Defendants’ insistence that they rejected Plaintiffs’ application because it was

incomplete and inaccurate is contrary to the evidence.

       Under step two of McDonnell Douglas, the Court must assess the genuineness of

Defendants’ asserted non-discriminatory rationale based on whether it guided their decision

at the time. Defendants cannot prevail by “offering a legitimate and sufficient reason for

[their] decision if that reason did not motivate [them] at the time of the decision.” Price

Waterhouse v. Hopkins, 490 U.S. 228, 52 (1989); see also Sabree v. United Bhd. of

Carpenters & Joiners Local No. 33, 921 F.2d 396, 404 (1st Cir. 1990) (“a defendant may not

invent a post hoc rationalization for its actions at the rebuttal stage of the case”). Here,

Defendants support their purported rationale with (1) random news articles and state court

legal analysis—both of which are irrelevant to this case, and (2) facts that are either false

and/or learned in discovery, such that they could not have possibly motivated the rejection.

Because Defendants have failed to assert a legitimate, non-discriminatory rationale that

actually motivated Plaintiffs’ rejection, summary judgment should be denied.


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       First, relying on news articles and state court cases that have nothing to do with

discrimination, Defendants mistakenly argue that the “business judgment rule” is a

complete defense to Plaintiffs’ claims because a co-op Board has broad authority to make

decisions about its management. Br. at 6-8. The business judgment rule, which directs

courts to defer to corporate decisions made “in good faith and in the exercise of honest

judgment in the lawful and legitimate furtherance of corporate purposes,” does not apply to

discrimination claims. Fletcher v. Dakota, 99 A.D.3d 43, 48 (1st Dep’t 2012) (“[D]ecision

making tainted by discriminatory considerations is not protected by the business judgment

rule.”); Maun v. Edgemont Tarrytown Condo., 156 A.D.3d 873, 874 (2d Dep’t 2017)

(“Contrary to the defendants’ contention, they are not entitled to the protection of the

business judgment rule with respect to the causes of action alleging violations of [anti-

discrimination laws].”). The cases cited by Defendants all arose under circumstances where

discrimination was not at issue. They are irrelevant to the Court’s analysis under McDonnell

Douglas.

       Second, Defendants nitpick details of Plaintiffs’ application to claim that it was either

incomplete or inconsistent, but a close examination shows that it was neither. For example,

Defendants claim that Plaintiffs’ application “failed to include their 2017 W2s and 1099s

and K1s for 2017-2019.” Br. at 8. But Plaintiffs included their tax returns for 2017 and 2018,

which fully disclosed their income. Exs. 17, 60. That they did not separately include certain

underlying forms cannot be a legitimate basis for rejecting them, because Sarmiento did the

same thing when he applied and no one batted an eye. Ex. 28 at DEFS8618-22 (2014 tax

return submitted with purchase application, omitting information returns). With respect to

2019, Plaintiffs submitted all of the tax materials they had in their possession at the time of

the February 2020 deadline. In any event, had Defendants seriously intended to consider

Plaintiffs’ application on its merits, they could simply have asked for whatever documents

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they believed were missing. Instead, they communicated through their counsel that

Plaintiffs’ November 2019 application was “fine” and the only required supplementation

was the addition of the disclosure affidavits and 2019 income documentation. Ex. E at 90:2-

13.

       Next, Defendants claim that Plaintiffs “failed to provide Privitera’s student loan

account statements or their Home Depot loan statements.” Br. at 8. But Plaintiffs disclosed

the existence of student loans. They list “Student Loan Deduction” twice on their

application. Ex. 17 at DEFS716, 727. As Xia testified, Plaintiffs “do not receive a monthly

statement” with respect to those loans, so there were no statements to include. Ex. I at

156:5-8. The application does not specifically seek student loan documentation, Ex. RR, and

Defendants never asked Plaintiff for more information about the loans. Ex. I at 256:23-

157:5. Likewise, Defendants offer no evidence that Plaintiffs possessed and failed to provide

Home Depot loan statements—or that Plaintiffs even had any Home Depot debt (which they

did not at the time of their November 2019 application). Defendants never asked Plaintiff

about any Home Depot loan during their application process (or during discovery for that

matter). It strains credulity to suggest that Defendants would have rejected Plaintiffs for

failing to provide student loan statements when they did not even ask for them. The

evidence does not support these “omissions” as a rational basis for Plaintiffs’ rejection.

       In addition, Defendants falsely claim that Plaintiffs’ application was rejected for

inconsistencies and “red flags”—namely, their supposed failure to disclose having owned a

house in California and their former Harlem Condo. Plaintiffs disclosed the sale of a

California home on their 2017 tax return, as it was sold in December 2017. Ex. 17 at

DEFS848. Defendants cite no evidence that this transaction caused them any concern at the

time they were reviewing Plaintiffs’ application. See Ex. FFF (Sale Committee meeting notes

omitting any mention of California home). Their citation to an affidavit by counsel is

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insufficient to establish that the California house had anything to do with Plaintiffs’

rejection. Beyah, 789 F.2d at 989-90.

       Similarly, Plaintiffs disclosed the sale of their Harlem condo on their 2018 tax return,

as it was sold in February 2018. Ex. 17 at DEFS824. Although Defendants claim that they

were concerned that Plaintiffs either maintained their primary residence in Harlem or failed

to disclose rental income on their application, neither is true. Plaintiffs moved out of the

Harlem condo in the summer of 2015 and sold it in 2018. Although Plaintiffs testified that a

renter occupied the Harlem condo at some point after Plaintiffs moved out, defense counsel

failed to ask when the renter resided there. See Ex. I at 22:3-23:23. Had they asked, they

would have learned that the renter lived in the Harlem condo prior to 2017. That rental

income thus would not have been included as part of Plaintiffs’ finances for 2017 and 2018

or disclosed as rental income on their financial worksheet. Defendants certainly have not

shown that Plaintiffs failed to disclose anything, let alone that this was a contemporaneous

reason for their rejection.

       Defendants’ contention that they “determined that Plaintiffs failed to meet the

income caps for 2017 and 2018,” Br. at 10, is equally unavailing. As discussed supra § II.A.2,

Defendants’ contortion of the income definitions and requirements to justify Plaintiffs’

rejection strengthens their discrimination claim. Plaintiffs’ reported AGI was below the

applicable income cap for every year of the application’s look-back period. That Defendants

somehow managed to find otherwise does not give rise to a legitimate rationale for their

rejection. Defendants’ contradictory deposition testimony further belies their claim to have

based the rejection on the income caps. Elbert testified that the Sales Committee “couldn’t

make [a] determination” whether Plaintiffs were financially eligible. Ex. G (Elbert Dep.)

203:5-12. By contrast, Sarmiento and Rojo testified that the Sales Committee did make such

a determination. Ex. R (Sarmiento Dep.) 204:14-20; Ex. L; (Rojo Dep.) 37:8-12. The

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minutes of the relevant Sales Committee meeting do not mention income caps at all. Ex.

FFF. These contradictions raise fact questions about the genuineness of Defendants’

belatedly stated concern.

       Next, Defendants incorrectly claim that Plaintiffs “misrepresented” their projected

monthly expenses because they “failed to mention” monthly student loan payments, Home

Depot payments, and cash withdrawals made to pay their children’s’ nanny. But these

expenses were disclosed throughout Plaintiffs’ application; that is how Defendants learned

about them. Defendants’ claim that each expense should have been detailed in an exhaustive

laundry list is belied by the instructions on their own financial statement, which merely

required Plaintiffs to identify specific categories of expenses (maintenance, apartment

financing, other mortgages, bank loans, auto loans, and “other”) and calculate a “combined

total.” Ex. 17 at DEFS738. That is just what Plaintiffs did.

       Finally, Defendants claim that the rejection was justified because they “were unable

to determine whether Plaintiffs’ 2019 and 2020 income met the relevant caps.” Br. at 10.

But as Sarmiento testified as the Board’s 30(b)(6) witness on the issue of financial

qualification, applicants were only required to provide financial documentation for “the two

years prior to the year of application.” Ex. R at 54:18-55:4. Plaintiffs applied in 2019. They

provided their full financial documentation for 2017 and 2018, as required. Exs. 17, 60. At

the time that they submitted their third application in February 2020, they did not have

their full financial information for 2019 because tax returns are not due until April.

Likewise, they did not have their full financial information for 2020 because only two

months of the year had elapsed, but they still submitted employment letters stating their

incomes for that year. Ex. 60.

       Even if any of Defendants’ so-called concerns were legitimate, which they were not,

their claims that these issues motivated the rejection are not credible. If Defendants had any

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questions or concerns about any aspect of Plaintiffs’ application, they could have simply

asked Plaintiffs. They did not do so. Ex. R 198:5-12. Balan testified that Defendants never

expressed concern about Plaintiffs’ income eligibility or financial qualifications to Plaintiffs

throughout the entire application process. Ex. E 96:12-24. Xia testified that she “did not

receive any requests or clarification on if any documents that I submitted were incomplete .

. . . I did not receive communications of any kind that anything was missing from the

Board.” Ex. I at 156:23-157:5.

       It is also telling that Defendants emailed the Urban Homestead Assistance Program

(UHAB), a non-profit organization that provides support to HDFCs, after rejecting Plaintiffs

to ask about the income eligibility requirements applicable to Plaintiffs. Ex. 54. (They were

informed that Plaintiffs only needed to satisfy the cap as of 2019, the year they applied. Id.)

A jury could reasonably find that if Plaintiffs’ eligibility had been the sole basis for the

rejection, the Board would have sought to learn the applicable financial requirements before

rejecting them.

                                        CONCLUSION

       As the Second Circuit has cautioned, summary judgment is a “drastic” remedy “in a

discrimination case, because the [defendant]’s intent is often at issue and careful scrutiny

may reveal circumstantial evidence supporting an inference of discrimination.” Belfi v.

Prendergast, 191 F.3d 129, 135 (2d Cir. 1999). That drastic remedy is unwarranted here. The

motion should be denied and this matter set for trial.




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Dated: November 18, 2022
       New York, New York


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